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                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

CECELIA TIERNEY,                      :

                 Plaintiff            :   CIVIL ACTION NO. 3:17-1048

    v.                                :         JUDGE MANNION

GEISINGER SYSTEM SERVICES             :
and GEISINGER WYOMING
VALLEY MEDICAL CENTER,                :

                Defendants            :



                                ORDER

          In accordance with the memorandum issued this same day, IT IS

HEREBY ORDERED THAT:

   (1)     The defendants’ motion for summary judgment, (Doc. 33),

           is GRANTED with respect to all of the plaintiff’s claims in

           her amended complaint, (Doc. 3), specifically, her ADA

           claim, Count I, her ADEA claim, Count II, her disability

           discrimination claim under the PHRA, Count III, and her

           age discrimination claim under the PHRA, Count IV.

    (2)    Judgment is entered in favor of the defendants and against

           the plaintiff regarding her age and disability discrimination

           claims under the ADEA, the ADA and, the PHRA, Counts

           I-IV of her amended complaint.

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         (3)       The Clerk of Court is directed to CLOSE THIS CASE.




                                           s/ Malachy E. Mannion
                                           MALACHY E. MANNION
                                           United States District Judge



Date: October 16, 2020
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